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WD-TX/AO 199A (Rev. 5/2001) Order Setting Conditions of Release
                                                                                                                            FILED         Page 1 of 3 Pages

                                                                                                                            JAN    -2020
                                                    UNITED STATES DISTRICT COURT
                                                                  WESTERN DISTRICT OF TEXAS                           CLERK, U.SDISTRICT COURT
                                                                                                                      WESTERN DISS
                                                                    SAN ANTONIO DIVISION                                                  TEXAS
                                                                                                              6 ftC
USA                                                                          §       ORDER SETTiNG CONDITIONS OF RELEASE
                                                                             §        OF DEFENDANT OR MATERIAL WITNESS
vs.                                                                          §
                                                                             §   CaseNumber: SA:19-M-01562(1)
(1) Frances Salinas De Leon                                                  §
   Defendant

             IT IS ORDERED that the release of the defendant/material witness is subject to the following conditions:

             (1) The defendant/material witness shall not commit any offense in violation of federal, state or local law while
                 on release in this case. The defendant/material witness shall report as soon as possible, to Pretrial Services
                 or supervising officer, any contact with any law enforcement personnel including, but not limited to, any
                 arrest, questioning, or traffic stop.
             (2) The defendant/material witness shall immediately advise the court, defense counsel and the U.S. Attorney
                 in writing before any change in address and telephone number.

             (3) The defendant/material witness shall appear at all proceedings as required and shall surrender for service of
                 any sentence imposed as directed. The defendant/material witness shall appear at (if blank, to be notified)
                     U.S. Courthouse, Courtroom C, 655 East Cesar E. Chavez Boulevard, SAN ANTONIO, Texas
                                                                                                     Place
                     on
                                                                                      Date and Time

                                                    Release on Personal Recognizance or Unsecured Bond
             IT IS FURTHER ORDERED that the defendant/material witness be released provided that:

  (      ) (4) The defendant/material witness promises to appear at all proceedings as required and to surrender for
                     service of any sentence imposed.
  (X)         (5) The defendant/material witness executes an unsecured bond binding the defendant/material witness to pay
                  the United States the sum of Fifty Thousand dollars ($ 50.000.00) in the event of a failure to appear as
                  required or to surrender as directed for service of any sentence imposed.
                                                                   Additional Conditions of Release
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the
defendant/material witness and the safety of other persons and the community, it is FURTHER ORDERED that the
release of the defendant/material witness is subject to the conditions marked below:
  (')(%) (6) The defendant/material witness is placed in the cusdy of:
              (Name of person or organization)                                    g.          ,                       .:'




              (Address)
              (City and state)                                                     (Phone)
who agree (a) to supervise the defendant/material witness in accordance with all the conditions of release, (b) to use
every effort to assure the appearance of the defendant/material witness at all scheduled court proceedings, and (c) to
notify the court immediately in the event the defendant/ma ial witne violates any conditions of release or disappears.
                                                                   Signed:                                                     3                O
                                                                                         Custod,af                                 Date

                                                                   Signed:
                                                                                         Custodian or Proxy                        Dale

                          DISTRIBUTION:                      COURT       DEFENDANT/MATERIAL WITNESS              U.S. MARSHAL
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WD.TX/AO 199B (Rev. 5/2018) Additional Conditions of Release                                                                                          Page 2 of 3 Pages

                                                               Additional Conditions of Release (cont.)
  ( X )       (7)     The defendant/material witness mutt:
                 (   X ) (a) report to Pretrial Services as directed.
                           (b) report to the
                               telephone number                                   no later than
                                                                                   ,



                     X ) (c) execute a bond or an agreement to forfeit upon failing to appear as required the following sum of money or designated
                               property: $50,000.00 UNSECURED
                 (     )   (d)  post with the court the following indicia of ownership of the above-described property, or the following amount or
                                percentage of the above-described:
                           (e) execute a bail bond with solvent sureties in the amount of $
                 (   X ) (f) maintain or actively seek verifiable employment.
                           (g) maintain or commence an education program.
                           (h) surrender any passport to Pretrial Services as directed, or:
                           (i) not obtain a passport or other international travel document.
                     X ) U) abide by the following restrictions on personal association, residence, or travel: Reside at an address pre-approved
                                by Pre-Trial Services;
                       )   (k) avoid all contact, directly or indirectly, with any person who is or who may be a victim or witness in the
                                investigation or prosecution, including:
                     X ) (1) obtain medical or psychiatric treatment and/or remain As directed by Pretrial Services.
                                in an institution as follows:

                 (      )     (m) return to custody each                at                  o'clock after being released at o'clock for employment,
                                  schooling, or the following purposes:

                        )      (n) reside at a halfway house or community corrections center as designated by Pretrial Services; abide by all conditions and
                                   requirements of the facility until terminated by the facility director or Pretrial Services; and remain in custody until space
                                   becomes available, and the Appearance Bond is signed; or, if a material witness, reside with a third party custodian as
                                   approved by Pretrial Services, in lieu of residing at a community corrections facility or halfway house.
                       )       (o) refrain from possessing a firearm, d          ctive device, or other dangerous weapon.
                     X )       (p) refrain from      (     )    any     (      )      excessive use of alcohol.
                     X )       (q) refrain from use or unlawful possession of a narcotic drug or other controlled substances defined in 21 U.S.C. §802,
                                   unless prescribed by a licensed medical practitioner.
                     X )       (r) submit to substance abuse treatment which will include evaluation and testing, education, in-patient or out-patient
                                   treatment, and/or participation in support groups such as Alcoholics or Narcotics Anonymous (AA/NA).
                        )      (s) at the discretion of the Pretrial Services, submit to substance abuse treatment which may include evaluation, testing,
                                   education, in-patient or out-patient treatment, and/or participation in support groups (such as AAINA).
                     X )       (t) submit to testing for a prohibitive substance as required by the Pretrial Services Office or supervising officer. Testing
                                   may be random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system,
                                   and/or any form of prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or
                                   tamper with the efficiency and accurracy of prohibited substance screening or testing.
                        )      (u) have installed on your vehicle an ignition interlock system as directed by Pretrial Services; drive no other vehicle while
                                   on pretrial release; abide by all conditions and requirements of the ignition interlock system program; and not disconnect
                                   the ignition interlock system without prior permission from Pretrial Services.
                        )      (v) participate in one of the following Location Monitoring Programs and comply with the requirements of the
                                   program which        (    )    will or (          ) will not include wearing a tracking device or other form of location
                                                                                        verification system:
                                   ( ) At the discretion of Pretrial Services (PTS); ( ) Global Position System (GPS); ( ) Radio Frequency
                                   Monitoring (RF); ( ) Voice Recognition (VR);
                                   Location verification systems require that you maintain a telephone (land line) at your residence without any special
                                   features such as "call waiting, call forwarding or caller ID". Cordless telephones are not permitted, unless approved by
                                   the Pretrial Services Officer.
                             (     ) (i)      Curfew. You are restricted to your residence every day (            )   from                  to               , or

                                                (     ) as directed by the Pretrial Services Office or supervising officer; or
                             (     ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious
                                              services; medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered
                                              obligation; or other activities approved in advance by the Pretrial Services office or supervising officer; or
                             (     )    (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical
                                              necessities and court appearances or other activites specifically approved by the court.
                               (w) Stand Alone Monitoring (SAM): Requires the use of Global Positioning System (GPS)tracking to monitor and enforce
                                   any other condition(s) of release (e.g., travel restrictions) Note: Not recommended for high risk defendants.
                 ( X )         (x) the following person(s) sign as third party custodian:Roberto M. Rodriguez
                 ( X )         (y) Defendant shall not open any new lines of credit, bank accounts or loans without prior approval from Pretrial Services or
                                   supervising officer.
                 (       )     (z)
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WD-TXIAO 199C (Rev. 5/2001) Advice of Penalties and Sanctions                                                                                Page 3 of 3 Pages



               (8)    IT IS FURTHER ORDERED that the defendant/material witness shall be responsible for any costs of participation in court-ordered
                      programs based on his/her ability to pay as determined by Pretrial Services, and make timely payment if required by any "Order
                      Directing Payment of Attorney's Fees."
               (9)    IT IS FURTHER ORDERED that if the Court has ordered herein any testing, such as substance testing, or monitoring, such as
                      electronic monitoring, the defendant/material witness shall refrain from obstructing or attempting to obstruct or tamper in any
                      fashion with the efficiency and accuracy of such testing and devices.

                                                                       Advice of Penalties and Sanctions
           A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant fOr your arrest, a revocation of
release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment, a fine or both.
           The commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment of not more
than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a misdemeanor. This sentence shall be
in addition to any other sentence.
           Federal law makes it a crime punishable by up to 10 years of imprisomnent, and a $250,000 fine or both to obstruct a criminal
investigation. It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to tamper with a witness, victim or informant;
to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant,
or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.
           If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence, you may be
prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

DEFENDANTS:
          If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence, you may be
prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

               (1)    an offense punishable by death, life imprisonment, or imprisonment for a term of 15 years or more, you shall be fined not more than
                      $250,000 or imprisoned for not more than 10 years, or both;
               (2)    an offense punishable by imprisonment for a term of five years or more, but less than 15 years or more, you shall be fined not more
                      than $250,000 or imprisoned for not more than five years, or both;
               (3)    any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
               (4)    a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

MATERIAL WITNESSES:
           If after release, you knowingly fail to appear as required by the conditions of release, you may be prosecuted for failing to appear and may
be fined not more than $100,000 and imprisoned not more than one year, or both.
           A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In addition, a
failure to appear or surrender may result in the forfeiture of any bond posted.

                                                                Acknowledgement of Defendant/Material Witness
          I acknowledge that I am the defendant/material witness in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and to surrender for service of any sentence imposed. I am  are f the penalties and sanctions set forth
above.                                                                                     L'
AGREED, IF APPLICABLE

                                                                                        AS A&PROVD BY THE COURT
Assistant U.S. Attorney

Attorney for Defendant/Material Witness                                                 City and Stale                               Telephone

                                                                                        Social Security Number

                                                                                        Date of Birth

                                                                      Directions to United States Marshal

        ( X )        The defendant/material witness is ORDERED released after processing.

                     The United States Marshal is ORDERED to keep the defendant/material witness in custody until notified by the clerk or judicial
                     officer that the defendant has posted bond and/or complied with all other condit   or release. The defendant/material
                     be produced before the appropriate judicial officer at the time and place spec ed,



Date
                                                                                       UNITE       STATES MAGISTRATE JUDGE
